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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Defendants
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
WEBMAGIC VENTURES, LLC, a California                                           CASE NUMBER:

Limited Liability Company,                                                                        2:18-cv-5933-PA-AS
                                                              Plaintiff(s),
                                     v.
DEUX RON, INC., a Tennessee corporation; RON
                                                                                              CERTIFICATION AND NOTICE
HENSLEY, an individual; and ERIC HENSLEY,
                                                                                                OF INTERESTED PARTIES
an individual,                                                                                      (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for              Defendants Deux Ron, Inc., Ron Hensley, and Eric Hensley,
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                     PARTY                                                              CONNECTION / INTEREST
Deux Ron, Inc.                                                                Defendant / Owner of accused mark
Ron Hensley                                                                   Defendant / President of Deux Ron, Inc.
Eric Hensley                                                                  Defendant / Vice President of Deux Ron, Inc.
Webmagic Ventures, LLC                                                        Plaintiff




         July 30, 2018                                     /s/ Erica J. Van Loon
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Defendants


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
